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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
              Plaintiff,                   )
       v.                                  )       Case No. 3:14-CR-149
                                           )
XIAFEN CHEN,                               )       Judge Thomas M. Rose
aka “Sherry Chen”                          )
              Defendant.                   )

                           MOTION TO DISMISS THE INDICTMENT


       Defendant Xiafen “Sherry” Chen, by and through her counsel, Peter R. Zeidenberg,

respectfully brings this Motion seeking an order for the Dismissal of the pending indictment

because of vagueness. Simply put, the complete lack of any detail in the indictment makes it

impossible for the defendant to prepare a defense to these charges. The grounds for this Motion

are set forth in the attached Memorandum in Support.




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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
              Plantiff,                     )
       v.                                   )       Case No. 3:14-CR-149
                                            )
XIAFEN CHEN,,                               )       Judge Thomas M. Rose
aka “Sherry Chen.”                          )
              Defendant.                    )

      MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
                          INDICTMENT

                                       BACKGROUND

       Sherry Chen is a 59 year-old woman who has worked for the National Oceanic and

Atmospheric Administration (“NOAA”) as a hydrologist for the past seven years. Ms. Chen has

a Master’s Degree in Engineering Hydrology from a university in Beijing, China as well as a

Master’s Degree in Agriculture Meteorology from the University of Nebraska. Prior to working

for NOAA, Ms. Chen worked as a hydrologist for the State of Missouri for 11 years.

       While at NOAA, Ms. Chen was responsible for helping to create computer models

designed to provide river forecasts for the Ohio River Basin. To do this, Ms. Chen would review

and consider data from a wide-range of sources, including data maintained in the National

Inventory of Dams (“NID”) database. This database, which is maintained by the Army Corps of

Engineers (“ACE”), contains, inter alia, data regarding all dams located in the Ohio River Basin.

Consequently, Ms. Chen would, as part of her official duties as a hydrologist for the NOAA,

periodically access and review the data on the NID website.1



1
 It is important to note that the NID website contains no classified information. Its data is
available to the public. Anyone who wishes to access the website can do so by simply requesting
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        Count One of the Indictment alleges that “[b]etween on or about May 10, 2012 and

May 24, 2012,” Ms. Chen stole “certain sensitive, restricted and proprietary computerized fields

of data involving critical national infrastructure contained in the National Inventory of Dams

database maintained by the United States Army Corps of Engineers” in violation of 18 U.S.C.

§641.

        Count Two of the Indictment alleges that “[b]etween on or about May 10, 2012 and May

15, 2012,” Ms. Chen “intentionally exceeded authorized access to a protected U.S. Government

computer database, namely the National Inventory of Dams database maintained by the United

States Army Corps of Engineers . . . and thereby obtained sensitive, restricted, and proprietary

fields of data concerning critical national dam infrastructures” in violation of 18 USC

§1030(a)(2).

        Counts Three and Four of the Indictment allege that on June 11, 2013, Ms. Chen made

false statements when she told government investigators that “she never, without proper

authority, logged onto the restricted area of the National Inventory of Dams database to access

sensitive, restricted and proprietary fields of data,” and that “she never, without proper authority,

downloaded sensitive, restricted and proprietary fields of data concerning critical national dam

infrastructures.”

ARGUMENT

        The first requirement of the constitutional right to a fair trial is notice of the charges

against which the accused must defend. See Russell v. United States, 369 U.S. 749, 760-61

(1962) (right to notice is rooted in the Sixth Amendment’s Notice Clause, Fifth Amendment’s

Due Process Clause, and Fifth Amendment’s Grand Jury Clause); see also Bousley v. United


a password from the NID, which is sent within minutes of the request being made. No
background check or particular rationale for seeking access to the website is required.
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States, 523 U.S. 614, 618 (1998) (notice of the true nature of the charge is the first requirement

of due process). In addition to alleging the elements of the charged offenses, the Indictment

must state the facts with sufficient particularity to “apprise[] the defendant of what he must be

prepared to meet” at trial. Russell, 369 U.S. at 763 (citation omitted)(internal punctuation marks

omitted); see also United States v. Hess, 124 U.S. 483, 487-88 (1888) (“A crime is made up of

acts and intent; and these must be set forth in the indictment with reasonable particularity of

time, place and circumstances.”). If such notice is not fixed in the charging document, the

government is left free to shift its theory of prosecution even up through the trial, depending on

the vagaries of proof. The defendant, required “to go to trial with the chief issue undefined,” is

hampered in his ability to prepare his defense, and is vulnerable to unfair surprise at trial.

Russell, 369 U.S. at 766.

       An indictment passes constitutional muster if it “‘contains the elements of the offense

charged and fairly informs a defendant of the charge against which he must defend, and second,

enables him to plead an acquittal or conviction in bar of future prosecutions for the same

offense.’” United States v. Landham, 251 F.3d 1072, 1079 (6th Cir. 2001) (quoting Hamling v.

United States, 418 U.S. 87, 117 (1974)); see also United States v. Anderson, 280 F.3d 1121,

1124 (7thCir. 2002) (constitutional mandates establish three minimum requirements for an

indictment. First, it must adequately state all of the elements of the crime charged; second, it

must inform the defendant of the nature of the charges so that he may prepare a defense; and

finally, the indictment must allow the defendant to plead the judgment as a bar to any future

prosecution for the same offense.(citations omitted)).

       All four counts of the Indictment must be dismissed because they are so vague and

lacking in any necessary details that they fail to satisfy these basic and minimal requirements.



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As drafted, the Indictment fails to “fairly inform [Ms. Chen] of the charge[s] against which [she]

must defend,” and fails to provide Ms. Chen with any protection against a subsequent

prosecution in the event of an acquittal or conviction. Hamling, 418 U.S. at 117. Specifically,

Counts One and Two fail to identify in any fashion whatsoever what “sensitive, restricted and

proprietary computerized fields of data” Ms. Chen allegedly accessed and stole from the NID

database.    As noted above, Ms. Chen was required to periodically access proprietary

computerized databases in order to carry out her job responsibilities. By failing to specify what,

precisely, Ms. Chen is alleged to have improperly downloaded and stolen, how she allegedly

committed the offense, or precisely when she committed the offense, it is impossible for Ms.

Chen to prepare a defense. Nor would it be possible for Ms. Chen “to plead the judgment [from a

trial on this indictment] as a bar to any future prosecution for the same offense.” Anderson,280

F.3d at 1124.

         Counts Three and Four must be dismissed because they fail to allege an element of the

offense charged. In both Counts, the government has failed to allege that Ms. Chen’s alleged

statements to the government were “material.” This failure requires that the Indictment be

dismissed.

         A. The Indictment Fails to Identify What Was Downloaded and Stolen

         Counts One and Two fail to identify what it was that Ms. Chen allegedly accessed and

stole.   The indictment merely states that Ms. Chen improperly accessed and stole “certain

sensitive, restricted and proprietary computerized fields of data involving critical national

infrastructure contained in the National Inventory of Dams database.” Given that the entire NID

database arguably contains data “involving critical national infrastructure,” the description

provided is the equivalent of saying that a defendant broke into a department store and stole



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“merchandise” or “things of value.” Such a vague description fails to adequately apprise Ms.

Chen of what the government alleges that she accessed and stole, and makes it impossible to

adequately prepare a defense or defend against a subsequent trial based on the same set of facts.

Without knowing what, precisely, Ms. Chen is alleged to have improperly accessed and

downloaded, it is impossible for Ms. Chen to explain why the particular document was needed

for her work.

       This failure to identify with particularity the property accessed and stolen is fatal to

Counts One and Two. See United States v. Ambrose, No. 07 CR 18, 2007 WL 2198776, at *1

(N.D. Ill. July 30, 2007) (We do not see how Count One, failing to specify the property the

defendant is alleged to have converted and conveyed, informs the defendant of ‘the nature of the

charges so that he may prepare a defense,’ or provides a protection against double jeopardy. It

simply does not ‘pin[ ] down the specific conduct at issue.’ At trial, the government could offer

proof of the conversion of any kind of Department of Justice property, and it would be covered

by Count One.”) (Citations omitted.).

       The rationale of Ambrose applies with equal force to the instant case: because the

government has failed to identify which “computerized data fields” Ms. Chen accessed and stole,

she is unable to prepare a defense and has no protection against a subsequent prosecution on the

same facts.

       B. Counts One and Two of the Indictment Fail to Identify How the Crime
          Was Committed

       In order to adequately prepare a defense, a defendant must be apprised of some basic

facts regarding how the alleged crime was committed. United States v. Allen, No. 3:12-CR-90-

TAV-HBG, 2014 WL 3368605, at *10 (E.D. Tenn. July 9, 2014) (It is well-settled that an

indictment must contain facts, not just legal conclusions: ‘A crime is made up of acts and intent;

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and these must be set forth in the indictment, with reasonable particularity of time, place, and

circumstances.’” United States v. Cruikshank, 92 U.S. 542, 558 (1875). The allegations in the

indictment, alone, must permit the court to determine whether ‘the acts charged will – if proved –

support a conviction for the offense alleged.’ Id. at 559.”).

       The instant indictment is devoid of any such facts. Ms. Chen is left completely in the

dark as to how the government contends she accessed and stole the “restricted and proprietary

computerized fields of data.” This failure to allege how the offense was committed makes it

impossible for Ms. Chen to prepare her defense because the defense does not know how it is that

the government will contend that Ms. Chen committed these offenses. The defense is left to

guess if the government will contend that Ms. Chen hacked into the government data base using

her home computer; or that she perhaps used, without permission, a computer belonging to a

coworker; if she stole and used a password belonging to a supervisor; or if she tricked a

coworker into giving her access to the database. The indictment is utterly devoid of a single

detail as to how this offense was committed. Without these facts, it is not only impossible for

Ms. Chen to adequately prepare a defense, but Ms. Chen would face the double jeopardy threat

prohibited by United States v. Landham. Absolutely nothing would bar the government, in the

event of an acquittal, from bringing a new charge based on these same facts, but this time merely

alleging an alternative theory of how the offense occurred.

       The government must be required to provide Ms. Chen with adequate notice of how it

contends that this offense was committed. Simply saying that Ms. Chen violated the statute –

which is, at bottom, all this indictment says – is not adequate.




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       C. The Indictment Fails to Adequately Identify When the Crime Was Committed

       Counts One and Two must also be dismissed because they fail to adequately provide Ms.

Chen with the required notice of when the alleged offenses occurred. Count One alleges that the

alleged theft of property occurred sometime during the two week period “[b]etween on or about

May 10, 2012 and May 24, 2012,” while Count Two is alleged to have occurred sometime

“[b]etween on or about May 10, 2012 and May 15, 2012.” Yet neither Count describes

continuing offenses. This is not a fraud or a conspiracy case that took place over a series of days

or weeks.    Presumably, the alleged improper accessing and theft occurred on a single,

identifiable date. Ms. Chen should not be placed in the position of having to guess which day,

during that two-week period, the offense actually occurred. “It is well-settled that an indictment

must contain facts, not just legal conclusions. . . . and these must be set forth in the indictment,

with reasonable particularity of time, place, and circumstances.” See United States v. Allen, No.

3:12-CR-90-TAV-HBG, 2014 WL 3368605, at *10 (E.D. Tenn. July 9, 2014) (quoting United

States v. Cruikshank, 92 U.S. 542, 558 (1875)). Because of the nature of the allegations in this

case and the information that is clearly in the possession of the government, a range of dates does

not provide the required “reasonable particularity” with regard to the time of the alleged conduct.

       From the little that can be gleaned from the indictment, it appears that the government

will contend that Ms. Chen improperly accessed and stole “certain sensitive, restricted and

proprietary computerized fields of data.” The government has seized and analyzed Ms. Chen’s

work computer, with which this alleged offense was presumably committed. There is simply no

reason for the government not to specify when these offenses allegedly occurred. Simply laying

out a two-week time frame (Count One) or a five day time-frame (Count Two) is not adequate

notice. In order to prepare her defense, Ms. Chen will need to be able to reconstruct and



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recollect what she was working on the day the offense allegedly occurred, so that the jury can

understand why she accessed the data fields at issue. It simply is not possible – nor should it be

necessary – for Ms. Chen to recreate her thought processes and rationales for every moment of a

two-week period, when the government presumably knows the precise date and time that this

alleged offense occurred.2

       D. Counts Three and Four Fail to Allege What Was False About Ms. Chen’s
          Statement and Fail to Allege All of the Elements of the Offense Charged

       Counts Three and Four must also be dismissed because they fail to give the required

notice regarding what, precisely, Ms. Chen allegedly stated that was false.

       Count Three states, in its entirety, that:

       On or about June 11, 2013, while in the Southern District of Ohio, in a matter
       within the jurisdiction of the Department of Commerce, an agency of the United
       States, the defendant, Xiafen Chen, did knowingly and willfully make a false
       representation, to wit: that she never, without proper authority, logged onto the
       restricted area of the National Inventory of Dams database to access sensitive,
       restricted and proprietary fields of data concerning critical national dam
       infrastructures.

       In violation of Title 18 United States Code, Section 1001.

       Count Four states, in its entirety, that

       On or about June 11, 2013, while in the Southern District of Ohio, in a matter
       within the jurisdiction of the Department of Commerce, an agency of the United
       States, the defendant, Xiafen Chen, did knowingly and willfully make a false
       representation, to wit: that she never, without proper authority, downloaded
       sensitive, restricted and proprietary fields of data concerning critical national dam
       infrastructures from the restricted area of the National Inventory of Dams
       database.

       In violation of Title 18 United States Code, Section 1001.




2
 If this is not the case, and the accessing and downloading of documents was part of an ongoing,
weeks-long scheme, then, of course, those facts must be laid out clearly in the indictment.


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       The Indictment does not allege what, precisely, Ms. Chen said that was false.3 Ms. Chen

is left to guess whether the government will contend that her statement that she had permission to

download and access material from the database was false, or, alternatively, whether her initial

denial to government agents that she ever accessed or downloaded any NID materials was false.4

This puts Ms. Chen in an untenable and fundamentally unfair position. “The basic Constitutional

standard by which to judge the sufficiency of an indictment is mandated by the Sixth

Amendment which requires that the indictment inform the defendant of the ‘nature and cause of

the accusation.” United States v. Piccolo, 723 F.2d 1234, 1238 (6th Cir. 1983) (en banc), cert.

denied, 466 U.S. 970 (1984). An indictment must “sufficiently apprise[] the defendant of what

he must be prepared to meet” at trial. United States v. Gray, 790 F.2d 1290, 1296-97 (6th Cir.

1986) rev’d on other grounds, 483 U.S. 350 (1987), citing Russell v. United States, 369 U.S. at

763-64. By failing to specify what, precisely, it is contending that Ms. Chen said was false, the

government falls short of the notice requirement set forth in Russell and its progeny.

       In addition, Counts Three and Four fail to adequately state all of the elements of the

offense charged. United States v. Landham, 251 F.3d 1072 at 1079 (quoting Hamling v. United

States, 418 U.S. 87, 117 (1974)) (explaining that an indictment is only constitutionally adequate

if it “contains the elements of the offense charged”).As pleaded, both Counts Three and Four fail



3
 Nor does the indictment identify to whom the statement was made.
4
  Ms. Chen’s interview was conducted by government agents who showed up unexpectedly at
Ms. Chen’s place of work. Ms. Chen did not have counsel present – agents told her, in response
to her inquiry that an attorney was not necessary – and the interview pertained to events that
occurred more than a year earlier. Ms. Chen had no opportunity to review her emails prior to
being interviewed. Ms. Chen initially did not recall accessing or downloading the NID
materials the agents inquired about. Later, during the course of the 7 hour-long interview, Ms.
Chen’s memory was refreshed by the agents and she recalled accessing and downloading the
information but made clear that it was done with the proper authority. At the end of the
interview, Ms. Chen wrote a statement making clear that she did access and download NID
materials, but had permission to do so.
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to allege that Ms. Chen’s statements were “material.” Materiality is an essential element of the

offense of false statements. See Sixth Circuit Pattern Jury Instructions 13.02, 18 U.S.C. § 1001

(listing materiality as the third element of the offense); U.S. v. Steele, 933 F.2d 1313 (6th Cir.

1991) (“five elements comprise the section 1001 offense: (1) the defendant made a statement; 2)

the statement is false of fraudulent; 3) the statement is material; 4) the defendant made the

statement knowingly and willfully; and 5) the statement pertained to an activity within the

jurisdiction of a federal agency.”) (citations omitted); U.S. v. Gatewood, 173 F.3d 983, 986 (6th

Cir. 1999) (same).

       The government’s failure to allege that Ms. Chen’s statements were “material” is fatal.5

See U.S. v. McCafferty, 482 F..App’x 117, 124 (6th Cir. 2012) (defendant’s motion to dismiss

false statements indictment because of government’s failure to contrast the alleged false

statement with the objective truth denied, because indictment “clearly state[s] that the defendant

made material false statements and that she did so ‘knowingly and willfully.’” (citations omitted)

( emphasis added). “An indictment must ‘fully, directly, and expressly, without any uncertainty

or ambiguity, set forth all the elements necessary to constitute the offense intended to be

punished.’” Gatewood,173 F.3d at 987, quoting Hamling v. United States, 418 U.S. 87, 117

(1974) (emphasis added).      A criminal indictment is constitutionally inadequate unless it


5
 The prosecution of Ms. Chen for false statements in this case also runs directly afoul of
Department of Justice policy. The United States Attorney’s Manual states that “[i]t is the
Department’s policy not to charge a Section 1001 violation in situations in which a suspect,
during an investigation, merely denies guilt in response to questioning by the government.”
USAM, 9-42-160. That is exactly what occurred in this case. Ms. Chen, during the course of
her 7 hour-long interrogation, acknowledged that she accessed restricted databases of the
National Inventory of Dams, and that she downloaded some of the material that she accessed.
She simply denied that she acted “without proper authority.” In other words, she simply denied
that her conduct was wrongful. The government is essentially charging Ms. Chen with lying for
denying that she acted, as the government agents contended, with a corrupt intent. This type of
prosecution runs directly contrary to DOJ policy which purports to preclude indicting individuals
for simply denying their own guilt.
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“contains the elements of the offense charged and fairly informs a defendant of the charge

against which he must defend”. United States v. Landham, 251 F.3d at 1079 (quoting Hamling

v. United States, 418 U.S. 87, 117 (1974)).                 There is literally nothing on the face of the

indictment which even suggests what the nature of the government’s investigation6 concerned, or

why Ms. Chen’s statements were even of interest or relevant to the government, much less

material.

         Because Counts Three and Four fail to allege what it was that Ms. Chen said was false,

and also fail to allege an essential element of the offense charged, these Counts must be

dismissed.

         CONCLUSION

         For the foregoing reasons, Ms. Chen respectfully requests that this Court dismiss this

Indictment.

December, 29, 2014

Respectfully submitted,

/s/ Thomas E. Zeno                                     /s/ Peter R. Zeidenberg
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Attorneys for Defendant Xiafen “Sherry” Chen




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  Indeed, the Indictment does not even allege that these statements were made in the context of an “investigation” as
is customarily the case; it merely states that they were made “in a matter within the jurisdiction of the Department of
Commerce.”

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                                CERTIFICATE OF SERVICE


          I hereby certify that on the 29th day of December 2014, I electronically filed the

foregoing Motion to Dismiss the Indictment and the Memorandum in Support with the Clerk of

Court using the CM/ECF system, which will send a notification of such filing to all counsel of

record.

                                            /s/ Thomas E. Zeno
                                            Thomas E. Zeno
                                            Attorney for Defendant Xiafen “Sherry” Chen




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